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11
          Pro Hac Vice Application to Be Submitted
12
          Attorneys for Plaintiffs Nevada Power Company
13        d/b/a NV Energy and Sierra Pacific Power Company
          d/b/a NV Energy
14
                                     UNITED STATES DISTRICT COURT
15
                                              DISTRICT OF NEVADA
16

17        NEVADA POWER COMPANY d/b/a NV                      No.:
18        Energy and SIERRA PACIFIC POWER
          COMPANY d/b/a NV Energy,
19                                                           COMPLAINT FOR DAMAGES;
                                Plaintiffs,                  DEMAND FOR JURY TRIAL
20
                 vs.
21

22        TRENCH FRANCE, S.A.S. and TRENCH
          LIMITED,
23
                                Defendants.
24

25               Plaintiffs Nevada Power Company and Sierra Pacific Power Company (collectively,
26
          "Plaintiffs" or "NV Energy"), by and through their attorneys, allege:
27

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                                     JURISDICTION AND VENlJE

 2           I.     This Court has personal jurisdiction over the parties and subject matter
 3
     jurisdiction over this matter pursuant to 28 U.S.C. §1332 as the case involves disputes between
 4
     citizens of different states/countries and the amount in controversy, exclusive of interest and
 5
     costs, exceeds $75,000.00 (given that the claim for damages is $45,086,735).
 6
             2.     Venue is proper in this judicial district under 28 U.S.C. § 1391(b)(l) and U.S.C §
 7

 8   1391(b)(2).

 9                                               PARTIES
10           3.     Plaintiff Nevada Power Company ("Nevada Power") is a corporation which is
11
     authorized by and organized under the laws of the State of Nevada, with its principle place of
12
     business in Nevada.
13
            4.      Plaintiff Sierra Pacific Power Company ("Sierra Pacific") is a corporation which
14

15   is authorized by and organized under the laws of the State of Nevada, with its principle place of

16   business in Nevada.

17          5.      Defendant Trench France S.A.S. ("Trench-France") is a corporation or similar
18   business entity which is organized under the laws of the country of France, and whose principle
19
     place of business is located in Saint-Louis, France.
20
            6.      Defendant Trench Limited ("Trench-Canada") is a corporation or similar business
21
     entity which is organized under the laws of the country of Canada and/or the Province of
22
23   Ontario, and whose principle place of business is located in Toronto, Canada.

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25   Ill
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     Ill
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 1                                   GENERAL ALLEGATIONS

 2          7.      Defendant Trench-France designed and manufactured insulating devices known
 3
     as bushings. As relevant in this case, Trench Bushings were designed and manufactured to
 4
     protect persons and equipment from high-voltage electricity exceeding 50,000 volts (50 kV).
 5
            8.     Defendant Trench-Canada manufactured certain Trench Bushings which were
 6
     designed by Trench-France.
 7

 8          9.     Trench-France and   Trench~Canada    attached a permanent steel nameplate to each

 9   Trench Bushing which they, respectively, manufactured. Each nameplate stated the bushing's
10   origin, model number, serial number, and purported application-voltage, and power-capacity.
11
            10.    On October 1, 2015, a Trench Bushing suddenly (and without warning) exploded
12
     at Nevada Power's Higgins Generating Station near Primm, Nevada. That explosion caused
13
     damages of $4,623,482 to other equipment at Higgins Generating Station.
14

15          11.    On August 16, 2016, another Trench Bushing suddenly (and without warning)

16   exploded at Nevada Power's Equestrian Substation near Las Vegas, Nevada. That explosion

17   caused $2,256,484 in damages to other equipment at Equestrian Substation.
18          12.    On August 18, 2016, Trench delivered to NV Energy a notice entitled "Important
19
     Safety Technical Advisory-Immediate Action Required" ("Safety Advisory"). Trench's Safety
20
     Advisory notified NV Energy that because Trench Bushings exploded suddenly and without
21
     warning, that worker-proximity results in, "risk of serious injury or death." Trench's Safety
22
23   Advisory also warned that in high-temperature environments (like Nevada), the Bushing-power-

24   capacities were actually much lower than as stated on the permanent Trench nameplates. Trench

25   recommended that Trench Bushings should be replaced.
26

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 1           13.     In October 2016, NV Energy decided to replace all Trench Bushings, system-

 2   wide. This replacement-decision was based on Trench's Safety Advisory which NV Energy first
 3
     received on August 18, 2016, and on subsequent emails and other communications between NV
 4
     Energy and Trench.
 5
             14.    The decisions by NV Energy to replace all Trench Bushings were made solely to
 6
     protect the health and safety of persons (usually electricians) who are employed by NV Energy.
 7

 8           15.    On November 24, 2016, another Trench Bushing suddenly (and without warning)

 9   exploded at Nevada Power' s Frias Substation in Las Vegas, Nevada. That explosion caused

10   $1,266,401 in damages to other equipment at Frias Substation.
11
             16.    On May 8, 2017, another Trench Bushing suddenly (and without warning)
12
     exploded at Nevada Power's Cactus Substation near Las Vegas, Nevada. That explosion caused
13
     $1, 139,819 in damages to other equipment at Cactus Substation.
14
             17.    Since October 2016, NV Energy have worked diligently to replace Trench
15

16   Bushings. Most of the Trench Bushings in their systems have been replaced to date, and all

17   should be replaced before the Summer of2020.
18          18.     Replacing Trench Bushings in the Plaintiffs' systems which generate, transmit,
19
     and distribute electricity will cost $35,811,549.
20
            19.     In analogous cases, courts across the United States have unanimously concluded
21
     that replacement costs which are reasonably incurred to protect the health and safety of persons
22
23   are property damages whose recovery is not barred by the Economic Loss Rule.           See, for

24   example, San Francisco Unified School District v. W .R. Grace & Company. 37 Cal. App. 4th

25   1318 (1995).
26

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 1                20.    On July 16, 2018, plaintiff Nevada Power and the Trench defenda.11ts signed a

 2        Tolling Agreement which extended the Statute of Limitations for all then-existing-claims to
 3
          August 1, 2019.
 4
                  21.    Defendant Trench-France has purposefully directed activities within the State of
 5
          Nevada which are related to Plaintiffs' claims. For example:
 6
                  a.     In 2011, Trench-France sent engineers to Las Vegas to investigate the explosion
 7

 8                       of a Trench Bushing at Nevada Power's Sinatra Substation. At Trench's request,

 9                       Trench Bushings from Sinatra Substation were shipped from Las Vegas, Nevada

10                       to Trench's factory in St. Louis, France, for expert-inspections in 2011.
11
                 b.      Later in 2011, Trench-France sent engineers to Nevada Power's Crystal
12
                         Substation (about 35 miles north of Las Vegas, Nevada) to inspect a Trench
13
                         Bushing which exploded. Trench Bushings from Crystal Substation were later
14

15                       sent to engineering laboratories in California, where experts for Trench and

16                       Nevada Power attended joint tear-downs and inspections in 2012 and in 2013.

17               c.      In January 2015, Trench-France delivered a Safety Advisory to NV Energy which
18                       warned about possible deficiencies in certain 230 kV Trench Bushings. Plaintiffs
19
                        contend    that   that   Safety    Advisory    contained   false   and       misleading
20
                        misrepresentations about the safety and reliability of Trench Bushings.
21
                 22.    Defendant Trench-Canada has purposefully directed activities within the State of
22

23        Nevada which are related to Plaintiffs' claims. For example:

24               a.     In 2003, Trench-Canada wrote, printed and distributed in Nevada a Transformer

25                      Bushings catalog which stated, among other things, that, "The Trench active part
26
                        design ensures that COTA bushings will last the life of your power transformer."
27

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 1                      All of the Trench Bushings which exploded at Nevada Power facilities, and all of

 2                      the Trench Bushings which the Plaintiffs have replaced and will replace, were
 3
                        Trench COTA bushings.
 4
                 b.     In 2014, Trench-Canada sent an engineer to Las Vegas, Nevada to inspect a
 5
                        Trench Bushing which failed at Nevada Power's Magnolia Substation.         That
 6
                        engineer (Dave Wallace) then sent his August 18, 2014 report to Nevada Power.
 7

 8                      His report recommended that Trench Bushings from Magnolia Substation be sent

 9                      to Trench-France, "for further investigations."

10               c.     Trench-Canada's Dave Wallace attended inspections of Trench Bushings at
11
                        Nevada Power's Higgins Generating Station in Nevada, in October of2015 and in
12
                        Mayof20L6.
13
                 d.     Trench-C~mada's   Dave Wallace attended an inspection of Trench Bushings at
14

15                      Nevada Power's Equestrian Substation in Nevada, in January of2017.

16               e.     Trench-Canada's Dave Wallace attended an inspection of Trench Bushings at

17                      Nevada Power's Frias Substation in Nevada, in January of2017.
18
                 f.     Trench-Canada's Dave Wallace attended an inspection of Trench Bushings at
19
                        Nevada Power's Cactus Substation in Nevada, in October of2017.
20
                23.     Trench-France and Trench-Canada are not independent corporations.       To the
21
          contrary, since February 2013 (and possibly earlier) they shared a common Chief Executive
22

23        Officer (Dr. Ing C.S. Ber mdsen in 2013) and they shared a common Chief Financial Officer (M.

24        Meiger in 2013).

25               24.    In approximately 1995, the Trench defendants were acquired by a large German
26
          manufacturer of electricd equipment, Siemens. Since that time to the present, Trench-France
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 1    II   and Trench~Ca..11ada have shared a com..mon agent, Siemens Energy (based in Phoenix, Arizona).

 2    II   Siemens Energy is a subsidiary of Siemens~Germany. At all relevant times since 1995, Siemens
 3
           Energy was authorized by the Trench defendants to act on their behalf in the United States,
 4
           including but not limited to transactions within the State of Nevada.
 5
                   25.    For a few years beginning in 2011,       Trench~France   and   Trench~Canada   shared
 6
           another common U.S. agent, Young Power Equipment Company of Scottsdale, Arizona.
 7

 8                 26.    The Trench defendants knew, before 2010, that Trench Bushings were exploding

 9         with dangerous frequency. A professional organization, the IEEE, included failures of Trench
10         Bushings as topic at a conference in 2010. By that time, the Trench defendants knew or should
11
           have known that Trench Bushings were dangerously exploding at a rate far in excess of its
12
           competitors' bushings, especially in hot climates such as Nevada. The Trench defendants should
13
           have issued a proper Safety Advisory in 2010, if not earlier.
14

15                27.     Failures ofTrench Bushings were discussed at another professional conference in

16         2012, hosted by Doble Engineering. By the time of the Doble conference in 2012, the Trench

17         defendants knew that Trench COTA~bushings were dangerously exploding at a rate far in excess
18         of its competitors' bushings, especially in hot climates such as Arizona.     Trench~Canada   should
19
           have issued a proper safety advisory in 2012, if not sooner.
20
                  28.     In February of 2013, the Trench defendants reported to Siemens that Trench
21
           Bushings exploded with a frequency which was far greater than average, and much in excess of
22

23         customers' experience or expectations. Within the next year, Siemens created a Task Force to

24         determine why Trench Bushings so often exploded.

25                29.     Siemens appointed     Trench~France's    executive Bruno Mansuy, and       Trench~

26
           France's engineer Jean Meyer, as members of that Task Force. Mr. Mansuy and Mr. Meyer both
27

28
                                                          ~   7-


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 1        II   traveled to tlle State of Nevada to, among other things, investigate Trench Bushing explosions

 2        I and to        discuss bushing-reliability-issues with Nevada Power, before the October 1, 2015
 3
               explosion at Higgins.
 4
                         30.   Siemens also appointed Trench-Canada's Dave Wallace as another member of the
 5
               Task Force. Among other things, Mr. Wallace reported his Nevada inspections (as described in
 6
               paragraph 22 above) to Siemens, to the Trench defendants in France and in Canada, and to the
 7

 8             Siemens Task Force.

 9                       31.   Since at least 1995, key insulating components of Trench Bushings were

10             negligently and defectively manufactured by both Trench defendants. Paper layers were cut
11
               crudely, and with tools not utilized by other bushing-manufacturers. The resulting rough edges
12
               lead to insulation break-down and sudden catastrophic failures. Those failures include, but are
13
               not limited to, the sudden explosions of Trench Bushings at Higgins, Equestrian, Frias, and
14

15             Cactus.

16                       32.   Further, aluminum layers within Trench Bushings were designed to be installed in

17             a consistent step-wise fashion. Both Trench defendants measured and inserted aluminum layers
18             by hand, as opposed to using laser-guided or other automated systems used by other bushing-
19
               manufacturers. As a result, aluminum layers were installed by the Trench defendants with
20
               inconsistent steps.   Such inconsistencies cause non-symmetrical forces on Trench Bushings,
21
               which leads to sudden and catastrophic failures (explosions).
22

23                       33.   Further, Trench Bushings are manufactured under conditions which are less

24             hygienic than other bushing-manufacturers, which has caused unwanted and dangerous

25             contamination of Trench Bushings during the manufacturing process.
26

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 1                  34.   The defects in Trench Bushings as described above mean that each permanent

 2       nameplate which the Trench defendants attached to each Trench Bushing states false and
 3
         exaggerated information about the power-capacity of each bushing. The Trench defendants
 4
         admitted this in their Safety Advisory (see paragraph 12 above).
 5
                                           FIRST CLAIM FOR RELIEF
 6
                                       (Negligence-- Against All Defendants)
 7

 8                  35.   The allegations of paragraph nos. 1-34 are incorporated herein as though set forth

 9       in full.
10                  36.   Defendants Trench-France and Trench-Canada negligently manufactured the
11
         Trench Bushings, and the resulting deficiencies caused Trench Bushings to suddenly explode
12
         without warning.
13
                    37.   Defendants Trench-France and Trench-Canada stated power-capacities on Trench
14

15       Bushings nameplates which, at all relevant times, they knew or should have known were false

16       and exaggerated. The Trench defendants breached their duties to state accurate power-capacity-

17       information on their bushings.
18                  38.   At all relevant times, defendants Trench-France and Trench-Canada knew or
19
         should have known that Trench Bushings would suddenly explode, especially in locations with
20
         high temperatures and/or with significant thermal cycling.
21
                    39.   By the time of the IEEE conference in 2010, defendant Trench-France knew or
22

23       should have known that its COTA-bushings were dangerously exploding at a rate far in excess of

24       its competitors' bushings, especially in hot climates such as Arizona or Nevada.          Further,

25       Trench-France's claim in 2014 that its bushings had 74% of their stated capacity was false, and
26
         lacked any reasonable basis. By 2012, Trench-France knew that its bushings exploded when
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 1   loaded at less than 25% of capacity. The Trench defendants should have known of that fact by

 2   1995.
 3                   The negligent manufacturing,         the failures   to   warn, and the material
              40.
 4
     misrepresentations by the Trench defendants were each proximate and legal causes of the
 5
     Plaintiffs' damages.
 6
                                       SECOND CLAIM FOR RELIEF
 7

 8                               (Strict Products Liability- Against All Defendants)

 9            41.    The allegations of paragraph nos. 1-40 are incorporated herein by reference as

10   though set forth in full.
11
              42.    The defective designs, defective manufacturing, the defective warnings, and the
12
     material misrepresentations of the Trench defendants were each proximate and legal causes of
13
     the Plaintiffs' damages.
14
              Wherefore, plaintiffs Nevada Power Company and Sierra Pacific Power Company pray
15

16   for judgment against the defendants Trench France S.A.S. and Trench Limited, as follows:

17                    1.     For damages of$45,086,735.00, according to proof;

18                    2.     For prejudgment interest, according to law and according to proof;
19
                      3.     For costs of suit incurred; and,
20
                      4.     For such other and further relief as the court may deem just and proper.
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25   Ill
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     Ill
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 1.                               DEMAND FOR JURY TRIAL

 2     Plaintiffs demand a trial by jury of all issues so triable.

 3     DATED this 18th day of July, 2019.
 4
                                               SANTORO WHITMIRE
 5

 6                                              Is/ Nicholas J. Santoro
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